Case 16-01131 Doc 5-11 Filed 08/05/16 Entered 08/05/16 13:29:59 Desc Exhibi
Suggestion of Bankruptcy Page 1 of 4

COMMONWEALTH OF MASSACHUSETTS

Essex, ss.
EUGENE PELIKHOV, Trial Court Division
Essex Superior Court
Plaintiff Civil Action No. 1577CV01902A

VS.

GOLD AND FARB, INC.

LEV GOLDFARB

ALEXANDER GOLDFARB, AND
LYDMILA ROGALIN,

Defendants

SUGGESTION OF BANKRUPTCY

Now come Lev Goldfarb and Lydmila Rogalin, through their counsel, Vladimir von Timroth,
Esq., and suggests to the Court that the Defendants, Lev Goldfarb and Lydmila Rogalin, have
filed a Chapter 13 case in the United States Bankruptcy Court for the District of Massachusetts
(Boston), the matter styled Jn re: Lev Goldfarb and Lydmila Rogalin, Docket #: 16- 12339
(Bankr. Mass. 2016). A notice of the commencement of the Bankruptcy is attached hereto.
Therefore, all actions against the above-captioned Defendants, Lev Goldfarb and Lydmila
Rogalin, are stayed pursuant to 11 U.S.C. § 362(a) and enjoined pursuant to 11 U.S.C. §524.

Lev Goldfarb and Lydmila Rogalin,
By their attorney:

Mal tif ——

Vladimir von Timroth, Esq., BBO #643553
LAW OFFICE OF VLADIMIR VON TIMROTH
405 Grove Street, Suite 204

Worcester, MA 01605

(508) 753.2006 phone

(774) 221 9146 fax

-. vontimroth@gmail.com

Dated: June 17, 2016

Case 16-01131 Doc 5-11 Filed 08/05/16 Entered 08/05/16 13:29:59 Desc Exhibit
Suggestion of Bankruptcy Page 2 of 4

CERTIFICATE OF SERVICE

I, Vladimir von Timroth, do hereby certify that I provided a copy of the within SUGGESTION OF
BANKRUPTCY by first class mail, postage prepaid this 17" day of June, 2016 to the parties below:

bad til

Vladimir von Timroth, Esq. BBO#643553

Matthew Shayefar, Esq.
Valentin David Gurvits, Esq.
Boston Law Group, PC

825 Beacon St., Suite 20
Newton Centre, MA 02459

Dated: June 17, 2016

Case 16-01131 Doc5-11 Filed 08/05/16 Entered 08/05/16 13:29:59 Desc Exhibit
Suggestion of Bankruptcy Page 3 of 4

VLADIMIR VON TIMROTH, ESQ.
ATTORNEY AT LAW
405 Grove Street, Suite 204
Worcester, MA 01605

Telephone (508) 753 2006 Facsimile (774) 221 9146

June 17, 2016
Essex County Superior Court
Clerk’s Office
56 Federal Street
Salem, MA 01970

Re: | Eugene Pelikov vs. Gold and Farb, Inc. et. al.
Civil action #: 1S77CV01902

Dear Sir/Madam:

Please find enclosed herewith the following documents with regard to the above-
referenced matter:

l. SUGGESTION OF BANKRUPTCY;
2. NOTICE OF BANKRUPTCY
3. CERTIFICATE OF SERVICE.

Sincerely,
hla Yj
-
Viadimir von Timroth

Encl.
Ce: Valentin David Gurvits, Esq.

Case 16-01131 Doc5-11 Filed 08/05/16 Entered 08/05/16 13:29:59 Desc Exhibit
Suggestion of Bankruptcy Page 4 of 4

United States Bankruptcy Court
District of Massachusetts

Notice of Bankruptcy Case Filing

A bankruptcy case concerning the debtor(s) listed below was filed under Chapter
13 of the United States Bankruptcy Code, entered on 06/17/2016 at 4: 12 PM and §
filed on 06/17/2016.

Lev Goldfarb

6 Loring Hills Avenue, C-6
Salem, MA 01970

SSN / ITIN: xxx-xx-7101
dba Gold & Farb, Ine.

Lydmila Rogalin

6 Loring Hills Avenue, C-6
Salem, MA 01970

SSN / ITIN: xxx-xx-3364
aka Lyudmila Rogalin
dba Gold & Farb, Inc.

The attorney of record in this case is:

Vladimir von Timroth

Law Office of Vladimir von Timroth
405 Grove Street, Suite 204
Worcester, MA 01605
508-753-2006

The case was assigned case number 16-12339.

In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against
the debtor and the debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at
all, although the debtor can request the court to extend or impose a stay. If you attempt to collect a debt or take other
action in violation of the Bankruptcy Code, you may be penalized. Consult a lawyer to determine your rights in this
case.

If you would like to view the bankruptcy petition and other documents filed by the debtor, they are available at
our /nternet home page http://www.mab.uscourts.gov/ or at the Clerk's Office, U. S. Bankruptcy Court, J.W.
McCormack Post Office & Court House, 5 Post Office Square, Suite 1150, Boston, MA 02109-3945.

You may be a creditor of the debtor. If so. you will receive an additional notice from the court setting forth
important deadlines.

James M. Lynch
Clerk, United States Bankruptcy
Court
